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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 GILBERT P. HYATT,

                       Plaintiff,

        v.                                      Civil Action No. 1:09-cv-1864 (RCL)
                                                Civil Action No. 1:05-cv-2310 (RCL)

 JOSEPH MATAL,

                       Defendant.


                                    JOINT STATUS REPORT
       1.     On December 7 and 8, 2017, counsel for the parties held off-the-record status

conferences with Ms. Lauren Jenkins, Courtroom Deputy, and Mr. Adam Pearlman, Clerk,

Hon. Royce C. Lamberth, to discuss trial proceedings in the above-captioned cases in light

of the Court’s unavailability for the trial dates scheduled for December 7 and 8 in Case No.

05-2310 and December 11-15 in Case No. 09-1864.

       2.     On December 11, 2017, counsel for the parties held an off-the-record status

conference with Ms. Nicole Bell-Norwood, Courtroom Deputy, and Mr. Adam Pearlman,

Clerk, Hon. Royce C. Lamberth. Subject to any changes in the Court’s availability and the

Court’s confirmation of its jurisdiction, it is expected that Case No. 05-2310 would be

completed on December 18 and 19, and Case No. 09-1864 would be heard before Hon.

Royce C. Lamberth, sitting in his capacity as a judge of the United States District Court for

the District of Columbia but at the location of the United States District Court for the

Western District of Texas, San Antonio Division, from February 7-13, 2018.
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Dated: December 11, 2017                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

      I hereby certify that on December 11, 2017, I electronically filed the foregoing Joint

Status Report with the Clerk of the Court by using the Court’s ECF system. All counsel of

record were served by the Court’s ECF system.


                                                /s/ Mark W. DeLaquil
                                                Mark W. DeLaquil
